         [Cite as State v. Pewett, 2016-Ohio-7757.]
                      IN THE COURT OF APPEALS
                  FIRST APPELLATE DISTRICT OF OHIO
                       HAMILTON COUNTY, OHIO




STATE OF OHIO,                                        :   APPEAL NO. C-150668
                                                          TRIAL NO. 14CRB-24522
        Plaintiff-Appellee,                           :
                                                             O P I N I O N.
  vs.                                                 :

DWIGHT PEWETT,                                        :

    Defendant-Appellant.                              :




Criminal Appeal From: Hamilton County Municipal Court

Judgment Appealed From Is: Appeal Dismissed

Date of Judgment Entry on Appeal: November 16, 2016




Paula Boggs Muething, Cincinnati City Solicitor, Natalia Harris, City Prosecutor,
and Heidi Rosales, Assistant City Prosecutor, for Plaintiff-Appellee,

Law Office of Steven R. Adams and Steven R. Adams, for Defendant-Appellant.
                     OHIO FIRST DISTRICT COURT OF APPEALS




M OCK , Judge.

       {¶1}   Defendant-appellant Dwight Pewett appeals from the decision of the

Hamilton County Municipal Court granting the motion to reconsider the granting of

his application to seal the record in a criminal case. We agree with his argument that

the granting of a motion to reconsider is a nullity. Because a party cannot appeal an

order that is a nullity, we dismiss the appeal.

       {¶2}   The record shows that Pewett is a police officer with the Cincinnati

Police Department. He was originally charged with sexual imposition under R.C.

2907.06 and was acquitted following a bench trial.         Subsequently, he filed an

application to have the record of that case sealed under R.C. 2953.52. The state did

not object, and on October 5, 2015, the trial court granted the application.

       {¶3}   On October 28, 2015, the state filed a motion asking the court to

reconsider its decision granting the application to seal. It stated that Pewett’s arrest

record was “needed to follow through with Cincinnati Police Department

administrative and disciplinary proceedings involving the Defendant to ensure the

integrity of the police force.” On November 2, 2015, the trial court granted the

motion to reconsider, and Pewett appealed from that order.

       {¶4}   In his sole assignment of error, Pewett contends that the trial court

erred in granting the state’s motion for reconsideration.       He contends that the

motion and the order granting the motion are void. We agree.

       {¶5}   An order granting a motion to seal the record of a criminal conviction

under R.C. 2953.32 is a final, appealable order. State v. Shown, 11th Dist. Lake No.

96-L-218, 1998 Ohio App. LEXIS 36, *2 (Jan. 9, 1998); State v. Leers, 80 Ohio

App.3d 579, 582, 617 N.E.2d 754 (8th Dist.1992). Similarly, the granting of an




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                      OHIO FIRST DISTRICT COURT OF APPEALS



application to seal the record of a criminal case following an acquittal under R.C.

2953.52 is also a final, appealable order. R.C. 2505.02(B). Consequently, the trial

court’s decision granting Pewett’s application to seal the record was a final order that

the state should have appealed and to which the doctrine of res judicata applies. See

In re Sealing of the Record of Brown, 10th Dist. Franklin No. 07AP-715, 2008-Ohio-

4105, ¶ 10.

       {¶6}    The state relies on State v. Lovelace, 1st Dist. Hamilton No. C-110715,

2012-Ohio-3797. In that case, this court stated that “[e]xpungement is an act of

grace created by the state. It is a privilege not a right.” Id. at ¶ 24. Therefore, the

state contends, the order granting the motion to seal did not affect a substantial right

and was not a final order within the meaning of R.C. 2505.02. But the state takes

that language out of context.       In Lovelace, we held that an order granting an

expungement was void because the applicant was not eligible for an expungement

under R.C. 2953.32 because he was not a first offender. Id. at ¶ 9-11 and 19-25. We

stated that a trial court has no jurisdiction to expunge a conviction where the

applicant did not qualify as a first offender. Id. at ¶ 9.

       {¶7}    In this case, nothing in the record shows that Pewett was ineligible to

have his record sealed, and the state did not object to his application to seal. See R.C.

2953.52(B). This is not a case that involves a question of law as to whether the trial

court has the authority to seal the record; it involves the trial court’s discretionary

power to grant a motion to seal the record of an eligible applicant. See State v. Blair,

1st Dist. Hamilton No. C-160333, 2016-Ohio-5714, ¶ 4.            To accept the state’s

argument would mean that a defendant could never appeal the denial of a motion to

seal or a motion for expungement because it would never be a final order.




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                     OHIO FIRST DISTRICT COURT OF APPEALS



       {¶8}    The Rules of Civil Procedure apply in expungement cases. State v.

Bissantz, 30 Ohio St.3d 120, 121, 507 N.E.2d 1117 (1987).          Those rules do not

“prescribe motions for reconsideration after a final judgment in the trial court.” Pitts

v. Dept. of Transp., 67 Ohio St.2d 378, 423 N.E.2d 1105, syllabus; Fifth Third Bank

v. Cooker Restaurant Corp., 137 Ohio App.3d 329, 333, 738 N.E.2d 817 (1st

Dist.2000). Therefore, all judgments resulting from a motion for reconsideration are

nullities. Pitt at 381; Fifth Third Bank at 333. Consequently, the trial court’s order

granting the state’s motion for reconsideration is a nullity, and the trial court’s order

granting the application to seal the record remains in effect. See State v. Cornwell,

11th Dist. Trumbull No. 2007-T-0007, 2007-Ohio-1068, ¶ 6.

       {¶9}    Pewett filed a notice of appeal from the trial court’s November 2, 2015,

order granting the state’s motion for reconsideration. Because a judgment granting a

motion to reconsider is a nullity, it is not a final order that can be appealed. Frabott

v. Swaney, 5th Dist. Delaware No. 13 CAE 05 0047, 2013-Ohio-3354, ¶ 28; Cornwell

at ¶ 6. Because Pewett did not appeal from a final order, this court is without

jurisdiction to hear the appeal, and we, therefore, dismiss it. See Hooten v. Safe

Auto Ins. Co., 1st Dist. Hamilton No. C-061065, 2007-Ohio-6090, ¶ 10.

                                                                      Appeal dismissed.


H ENDON , P.J., and S TAUTBERG , J., concur.


Please note:
       The court has recorded its own entry this date.




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